Case 2:04-CV-O2483-SHI\/|-tmp Document 22 Filed 07/18/05 Page 1 of 2 Page|D 29

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FOR THE wssTERN DISTRICT 0F TENNESSEE

 

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JoNATHAN T. HALFACRE, O.EFK U.S._I}BTR!CTOU.BT
W/U UF 1¢‘!, ,-‘&W~J!H'FS
Plaintiff,
VS. NO. 04-2483-MaP

THE HOME DEPOT a/k/a
HOME DEPOT, USA, INC.,

Defendant.

 

ORDER GRANTING MOTION FOR ADDITIONAL TIME TO RESPOND

 

Before the court is the plaintiff's July 5, 2004, unopposed
motion requesting an extension of time within which to file a
response to the defendant's motion for summary judgment. For
good cause shown, the motion is granted. The plaintiff shall
have additional time to and including July ll, ZOQEC within which
to file a response.

It is so ORDERED this {{)t`day of July, 2002.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

